        Case 1:24-cv-07136-JAV          Document 49        Filed 02/06/25      Page 1 of 2




VIA ECF
Honorable Jeannette A. Vargas
Daniel Patrick Moynihan United States Courthouse
500 Pearl St., Room 703
New York, NY, 10007-1312

       RE:     Motion for Leave to Serve by Alternative Means, Troell, et al. v. Binance
               Holdings Ltd., et al., No.1:24-cv-07136 (JAV)
Dear Judge Vargas:
       We write on Plaintiffs’ behalf in response to Your Honor’s February 4, 2025 Order
regarding whether the Motion to Serve Defendant Changpeng Zhao by Alternative Means
(“Motion”) is moot. See ECF 48.
        Unfortunately, Plaintiffs’ motion is not moot. After attorneys from Baker & Hostetler LLP
(“BakerHostetler”) noticed appearances as counsel for Zhao (see ECF 46, 47), Plaintiffs asked
those attorneys whether they would accept or waive service on Zhao’s behalf. In response, Zhao’s
counsel told Plaintiffs that Zhao has not authorized them to accept service in this action “and plans
to oppose any motion” to serve him through U.S. counsel.
        Beyond that, Zhao’s attorney asserted he believes that Plaintiffs’ Motion “is moot because
[Plaintiffs] seek[] to serve Mr. Zhao through Cahill [Gordon & Reindel LLP]”—the law firm
representing Defendant Binance Holdings Ltd. (“Binance”) in this matter, and both Binance and
Zhao in several other matters, including in this District—“rather than BakerHostetler.” Zhao’s
attorney also conveyed his view that Plaintiffs “will need to file another motion that seeks to serve
Mr. Zhao through BakerHostetler.”
        Respectfully, Zhao’s counsel is wrong that the absence of a specific reference to
BakerHostetler in the Motion makes it moot. Zhao must still be served, and the leave Plaintiffs
requested to accomplish service via alternative means is still needed. Moreover, Plaintiffs’ Motion
requests leave to serve Zhao “through U.S.-based counsel representing [Zhao] in other cases,
and/or any other method the Court deems proper.” ECF 45 at 11 (emphasis added). That request
necessarily encompasses service through Zhao’s current counsel in this case, as it would be a
“proper” method to serve Zhao. See Atlantica Holdings, Inc. v. BTA Bank JSC, 2014 WL 12778844,
at *3 (S.D.N.Y. Mar. 31, 2014) (holding that service on U.S. counsel that entered a notice of
appearance but refused to accept service was not only “sensible” and maximized “judicial
efficiency” but also “plainly satisfies” both Rule 4(f)(3) and due process requirements). In any
event, service through Cahill Gordon & Reindel LLP remains proper, as that law firm continues to
actively represent Zhao in ongoing matters—including in last week’s argument before Judge Koeltl
in Ranaan v. Binance Holdings Ltd., et al., No. 24-cv-00697 (S.D.N.Y.).
        Case 1:24-cv-07136-JAV           Document 49        Filed 02/06/25       Page 2 of 2




         We also note that, despite Plaintiffs’ request, Zhao’s counsel declined to confirm the
country where Zhao presently resides, and so we continue to have no reason to believe serving
Zhao personally is feasible or practicable. Simply put, the reasons to grant relief, as detailed in the
Motion, remain valid. Nor is there any good reason for Plaintiffs to withdraw and re-file the Motion
just to name Zhao’s new attorneys as vehicles to serve Zhao—especially when Zhao could simply
“moot” the re-filed Motion by changing law firms before his opposition is due.
      Nonetheless, if the Court were to require Plaintiffs to withdraw their Motion and re-file
it—updating it to name-check Zhao’s lawyers at BakerHostetler—Plaintiffs stand ready to do so.


February 6, 2025                                       Respectfully submitted,
                                                        /s/ Adam J. Goldstein

                                                       Adam J. Goldstein
                                                       Geoffrey P. Eaton
                                                       Ryan R. Sparacino
                                                       Matthew J. Fisher
                                                       SPARACINO PLLC
                                                       1920 L Street, NW, Suite 835
                                                       Washington, D.C. 20036
                                                       Tel: (202) 629-3530
                                                       adam.goldstein@sparacinopllc.com
                                                       geoff.eaton@sparacinopllc.com
                                                       ryan.sparacino@sparacinopllc.com
                                                       matt.fisher@sparacinopllc.com

                                                       Counsel for Plaintiffs




                                                  2
